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                    EXHIBIT A
         Case: 1:21-cv-00813 Document #: 1-1 Filed: 02/12/21 Page 2 of 56 PageID #:9
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                                                                                              FILED
                                                                                              1/7/2021 2:19 PM
                                                                                              IRIS Y. MARTINEZ
                                                                                              CIRCUIT CLERK
                                                                                              COOK COUNTY, IL
                                                                                              2021CH00047

                                                                                              11746661
      2120 - Served                    2121- Served              2620 - Sec. of State
      2220 - Not Served                2221- Not Served          2621- Alias Sec of State
      2320 - Served By Mail            2321- Served By Mail
      2420 - Served By Publication     2421- Served By Publication
      Summons - Alias Summons                                                 (12/01/20) CCG 0001 A


                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
      Name all Parties
      Anand Edke


                                             Plaintiff(s)

                                                            I Case No.   2021-CH-47
    ~—B~l3n.
          e Inc.—              ~


                                         D. fendant(s)
      c/o Illinois Corporation Service Co.
      801 ADLAI STEVENSON DRIVE
      SPRINGFIELD , IL 62703
                               Addressof"Defendant(s)
      Please serve asfollows-(c-heck one): ~ Certified Mail C Sheriff Service "/ Alias
                                                  SUMMONS
      To each Defendant:
      You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
      You are summoned and required to file your appearance, in the office of the clerk of this court,
      within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
      judgment by default may be entered against you for the relief asked in the complaint.
                         THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
      To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
      COURTHOUSE. You will need: a computer with internet access; an email address; a completed
      Appearance form that can be found at http://wwwillinoiscourts.gov/Forms/approved/procedures/
      appearance.asp; and a credit card to pay any required fees.



                    Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                         cookcountyclerkofcourt.org
                                                     Page 1 of 3
                 Case: 1:21-cv-00813 Document #: 1-1 Filed: 02/12/21 Page 3 of 56 PageID #:10

       Surnmons - Alias Summons                                                                                (12/01/20) CCG 0001 B

       E-filing is now mandatory with lunited exemptions. To e-file, you must first create an account with an e-filing
       service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a service
       provider.
       If you need additional help or have trouble e-filing, visit http://wwwillinoiscourts.gov/faq/gethelp.asp or talk with
       your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
       person or by mail. Ask your circuit clerk for more information or visit wwwillinoislegalaid.org.
       If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
       yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
       illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
       Please call or email the appropriate clerk's office location (on Page 3 of this suinmons) to get your court hearing
       date AND for information whether your hearing will be held by video conference or by telephone. The Clerk's
       office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
       NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
             appearance by. You may file your appearance form by efiling unless you are exempted.
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0      A court date will be set in the future and you will be notified by email (either to the email address that you used to
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       register for efiling, or that you provided to the clerk's office).
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N      CONTACT THE CLERK'S OFFICE for information regarding COURT DATES by visiting our website:
:E     cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
a
m_     appropriate clerk's office location listed on Page 3.
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N      To the officer: (Sheriff Service)
O
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C      This suininons must be returned by the officer or other person to whom it was given for service, with endorsement
ui     of service and fees, if any, immediately after service. If service cannot be made, tlus summons shall be returned so
¢F-❑   endorsed. This summons may not be served later than thirty (30) days after its date.
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                                                                                          1/7/2021 2:19 PM IRIS Y. MARTINEZ
       Ce Atty. No.: 38819                                            Witness date
       C Pro Se 99500
                      V.
       Name: Carl Malmstrom
       Atty. for (if applicable):                                                IRIS Y. MARlC'1NIV(DeMof Court
       Plaintiff Anand Edke                                           ❑ Service by Certified N

       Address: 111 W. Jackson Blvd., Suite 1700                      ❑ Date of Service:
                                                                         (fo be inserted by offlcer on copy left witb employer or otber person)
       Ciry: Chicago
                IL     Zip:   60604
       State:

       Telephone: 3129840000
                         malmstrom@whafh.com
       Primary Email:

                              Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                   cookcountyclerkofcourt. org
                                                                Page 2 of 3
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                           GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

    CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
    appropriate division, district or department to request your next court date. Email your case number, or, if you do
    not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
    and birthdate for a criminal case.


                  CHANCERY DIVISION                                       ALL SUBURBAN CASE TYPES
    Court date EMAIL: ChanCourtDate@cookcountycourt.com                         DISTRICT 2 - SKOKIE
    Gen. Info:   (312) 603-5133                                  Court date EMAIL: D2CourtDate @cookcountycourt.com
                      CIVIL DIVISION                             Gen. Info: (847) 470-7250
    Court date EMAIL: CivCourtDate@cookcountycourt.com                  DISTRICT 3 - ROLLING MEADOWS
    Gen. Info:   (312) 603-5116                                  Court date EMAIL: D3CourtDate@cookcountycourt.com
                    COUNTY DIVISION                              Gen. Info: (847) 818-3000
    Court date EMAIL: CntyCourtDate@cookcountycourt.com                        DISTRICT 4 - MAYWOOD
    Gen. Info:   (312) 603-5710                                  Court date EMAIL: D4CourtDate@cookcountycourt.com
     DOMESTIC RELATIONS/CHILD SUPPORT                            Gen. Info:    (708) 865-6040
                 DIVISION                                                     DISTRICT 5 - BRIDGEVIEW
    Court date EMAIL: DRCourtDate@cookcountycourt.com            Court date EMAIL: D5CourtDate@cookcountycourt.com
                      OR
                      ChildSupCourtDate@cookcountycourt.com
                                                                 Gen. Info:    (708) 974-6500
    Gen. Info:   (312) 603-6300                                                DISTRICT 6 - MARKHAM
                                                                 Court date EMAIL: D6CourtDate@cookcountycourt.coin
                 DOMESTIC VIOLENCE
    Court date EMAIL: DVCourtDate@cookcountycourt.com            Gen. Info:    (708) 232-4551
    Gen. Info:   (312) 325-9500

                       I.AW DIVISION
    Court date EMAIL: La-,vCourtDate@cookcountycourt.com
    Gen. Info:   (312) 603-5426

                   PROBATE DIVISION
    Court date EMAIL: ProbCourtDate@cookcountycourt.com
    Gen. Info:  (312) 603-6441




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  Return Date: No return date scheduled          12-Person Jury
' Hearing Date: 5/6/2021 10:30 AM - 10:30 AM
  Courtroom Number: 2102
  Location: District 1 Court                                                                                                  FILED
          Cook County, IL                                                                                                     1/6/2021 1:17 PM
                                                                                                                              IRIS Y. MARTINEZ
                                                                                                                              CIRCUIT CLERK
                                                                                                                              COOK COUNTY, IL
                                                                                                                              2021CH00047

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      Chancery Division Civil Cover Sheet
      General Chancery Section                                                                                                 (12/01/20) CCCH 0623

                                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                COUNTY DEPARTMENT, CHANCERY DIVISION

       Anand Edke
                                                                    Plaintiff I
                                        V.
                                                                                                2021 CH00047
                                                                                  Case No: _
       Belden, Inc.
                                                                  Defendant

                                                    CHANCERY DIVISION CIVIL COVER SHEET
                                                        GENERAI. CHANCERY SECTION
      A Chancery Division Civil Cover Sheet - General Chancery Section shall be filed with the initial complaint in all actions filed in the General
      Chancery Section of Chancery Division. The information contained herein is for administrative purposes only. Please check the box in
      front of the appropriate category which best characterizes your action being filed.
      Only one (1) case type may be checked with this cover sheet.

      0005    ❑    Administrative Review                                          0017     ❑ Mandamus
      0001    ❑
              ✓    Class Action                                                   0018     ❑ Ne Exeat
      0002    ❑    Declaratory Judgment                                           0019     ❑ Partition
      0004    ❑    Injunction                                                     0020     ❑ Quiet Title
                                                                                  0021     ❑ Quo Warranto
      0007 ❑       General Chancery                                               0022     ❑ Redemption Rights
      0010 ❑       Accounting                                                     0023     ❑ Reformation of a Contract
      0011 ❑       Arbitration                                                    0024     ❑ Rescission of a Contract
      0012 ❑       Certiorari                                                     0025     ❑ Specific Performance
      0013 ❑       Dissolution of Corporation                                     0026     ❑ Trust Construction
      0014 ❑       Dissolution of Partnership                                     0050     ❑ Internet Take Down Action (Compromising Images)
      0015 ❑       Equitable Lien
      0016 ❑       Interpleader                                                             ❑   Other (specify)


      C   Atry. No.: 38819                    C%   Pro Se 99500
                                                                                  Pro Se Only:     ❑ I have read and agree to the terms of the Clerk's
                         Mahnstrom
      Atty Name: Carl V.                                                                             Clerk's Office Electronic Notice Policy and
                   Plaintiff Natondra Logan                                                          choose to opt in to electronic notice from the
      Atty. for:                                                                                     Clerk's office for this case at this email address:
      Address:
                   111 W. Jackson Blvd., Suite 1700
                                                                                  Email:
      City:   Chicago                                 State: IL
              60604
      zip:
                    3129840000
      Telephone:
                        malmstrom@whafh.com
      Primary Email:
                                       Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                            cookcountyclerkofcourt. org
                                                                         Page 1 of 1
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                                                                                  Attorney No. 38819

~                    IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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     ANAND EDKE,                                   )               2021CH00047
5;   individually and on behalf of all others      )       Case No.
a    similarly situated,                           )
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W    BELDEN, INC.
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                    Defendant.


                                     CLASS ACTION COMPLAINT

            Plaintiff Anand Edke ("Plaintiff") brings this Class Action Complaint against Belden,

     Inc. ("Belden" or "Defendant") on behalf of himself and all others similarly situated and alleges,

     upon personal knowledge as to his own actions and his counsels' investigations and upon

     information and belief as to all other matters, as follows:

                                             INTRODUCTION

             l.     Plaintiff brings this class action against Belden for its failure to properly secure

     and safeguard personally identifiable information that Belden required from its employees as a

     condition of employment, including without limitation, names, Social Security numbers, driver's

     license numbers or government-issued identification numbers, financial account numbers for

     direct deposit of wages, and dates of birth (collectively, "personally identifiable information" or

     "PII"). Plaintiff also alleges Defendant failed to provide timely, accurate, and adequate notice to

     Plaintiff and similarly situated current and former Belden employees ("Class Members") that

     their PII had been lost and precisely what types of information were unencrypted and are now in

     the possession of unknown third parties.
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             2.     Belden is a provider of networking, connectivity, and cable products and operates

~    worldwide. Belden's employees entrust Belden with an extensive amount of PII. Belden retains
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U    this information on computer hardware—even long after the employment relationship ends.
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2            3.     On or before November 12, 2020, Belden learned that a breach of its computer
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     system had occurred, involving "a sophisticated attack by a party outside the company."1
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~            4.     Belden determined that the unauthorized activity on its network occurred on or
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0    before November 12, 2020. This activity involved the access and possible theft of PII, including
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LL   unauthorized access to files on Belden's servers (the "Data Breach"). These servers contained

     files that in turn contained information about current and former employees, including Plaintiff,

     and their beneficiaries and dependents.

             5.     In a"Notice of Data Incident" published November 24, 2020, Belden advised

     current and former employees of Belden and their beneficiaries and dependants, of the Data

     Breach; this included current and former employees of certain of Belden's subsidiaries and

     former company subsidiaries, including Grass Valley USA, LLC.

             6.     By obtaining, collecting, using, and deriving a benefit from Plaintiff's and the

     Class Members' PII, Defendant assumed legal and equitable duties to those individuals.

     Defendant admits that the unencrypted PII exposed to "unauthorized activity" included names,

     Social Security numbers or tax identification numbers, financial account numbers provided for

     direct deposit, home addresses, email addresses, dates of birth, and other, unspecified "general

     employment-related information."Z


     1       See          Notice         of      Data         Incident,    available    at:
     https://oa g.ca.g_
                      ov/sYstem/files/Breach%20Notification%20Template%20-
     %20%28Belden%29%20%28US%29.pdf, a true and correct copy of which is attached hereto as
     Exhibit 1 ("Ex. 1").
     z       Id.

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        7.      The exposed PII of Belden's current and former employees can be sold on the

dark web.     Hackers can access and then offer for sale the unencrypted, unredacted PII to

criminals. Plaintiff and Belden's current and former employees and their beneficiaries and

dependents face both an imminent and a lifetime risk of identity theft, which is heightened here

by the loss of Social Security numbers and bank account numbers.

        8.      This PII was compromised due to Belden's negligent and/or careless acts and

omissions and the failure to protect PII of its current and former employees and their

beneficiaries and dependents. In addition to Belden's failure to prevent the Data Breach, after

discovering the breach, Belden waited several weeks to report it to the states' Attorneys General

and affected individuals.

        9.      As a result of this delayed response, Plaintiff and Class Members had no idea

their PII had been compromised, and that they were, and continue to be, at significant risk of

identity theft and various other forms of personal, social, and financial harm. The risk will

remain for their respective lifetimes, and is exacerbated by the theft of Plaintiff's and Class

Members' Social Security numbers and other highly sensitive PII.

        10.     Plaintiff brings this action on behalf of all persons whose PII was compromised as

a result of Defendant's failure to: (i) adequately protect the PII of its current and former

employees and their beneficiaries and dependents; (ii) warn its current and former employees

and their beneficiaries and dependents of its inadequate infonnation security practices; and (iii)

effectively secure hardware containing protected PII using reasonable and effective security

procedures free of vulnerabilities and incidents. Defendant's conduct amounts to negligence and

violates federal and state statutes.

        11.     Plaintiff and Class Members have suffered injury as a result of Defendant's


                                                3
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conduct. These injuries include: (i) lost or diminished value of PII; (ii) out-of-pocket expenses

associated with the prevention, detection, and recovery from identity theft, tax fraud, and/or

unauthorized use of their PII; (iii) lost opportunity costs associated with attempting to mitigate

the actual consequences of the Data Breach, including but not limited to lost time, (iv)

deprivation of rights they possess under the Illinois Consumer Fraud and Deceptive Business

Practices Act; and (v) the continued and certainly an increased risk to their PII, which: (a)

remains unencrypted and available for unauthorized third parties to access and abuse; and (b)

may remain in Defendant's possession and subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the PII.

       12.     Belden disregarded the rights of Plaintiff and Class Members by intentionally,

willfully, recklessly, or negligently failing to take and implement adequate and reasonable

measures to ensure that its current and former employees' PII was safeguarded, failing to take

available steps to prevent an unauthorized disclosure of data, and failing to follow applicable,

required and appropriate protocols, policies and procedures regarding the encryption of data,

even for internal use. As the result, the PII of Plaintiff and Class Members was compromised

through disclosure to an unknown and unauthorized third party. Plaintiff and Class Members are

entitled to damages and, because they have a continuing interest in ensuring that their

information is and remains safe, and they are also entitled to injunctive and other equitable relief.

                                            PARTIES

       13.      Plaintiff Anand Edke is a resident of Schaumburg, Illinois. On or about

December 16, 2020, Mr. Edke received notice from Belden that it improperly exposed his

sensitive PII to unauthorized third parties. Mr. Edke worked for Belden from in or about

February 2007 until February 2011 in Schaumburg, Illinois.


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       14.     Defendant Belden, Inc. is a corporation organized under the laws of Delaware,

headquartered at 1 North Brentwood Boulevard, 15th Floor, St. Louis, Missouri, 63105, with its

principal place of business in St. Louis, Missouri.

       15.     The true names and capacities of persons or entities, whether individual,

corporate, associate, or otherwise, who may be responsible for some of the claims alleged herein

are currently unknown to Plaintiff. Plaintiff will seek leave of court to amend this complaint to

reflect the true names and capacities of such other responsible parties when their identities

become known.

       16.     All of Plaintiff's claims stated herein are asserted against Defendant and any of its

owners, predecessors, successors, subsidiaries, agents and/or assigns.

                                .TURISDICTION AND VENUE

       17.     This Court has personal jurisdiction over Defendant because it operates within the

State of Illinois and derives substantial revenue from its operations, and otherwise seeks the legal

benefits and protections afforded by the State of Illinois. Additionally, this Court has jurisdiction

over Defendant because Defendant is authorized to do business in the State of Illinois pursuant to

735 ILCS 5/2-102(a).

       18.     Venue is proper pursuant to 735 ILCS 5/2-101 because a substantial part of the

events or omissions giving rise to these claims occurred in this County.

                                  FACTUAL ALLEGATIONS
       Background

       19.     Belden is a leading provider of networking equipment throughout the world. It




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      currently employs approximately 9,000 people and has thousands of former employees.3

r.-             20.    Plaintiff and Class Members employed by Belden were required to provide some
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U     of their most sensitive and confidential information for themselves and their beneficiaries and
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M     dependents, including names, dates of birth, Social Security numbers, bank account numbers,
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      and other PII which is often static, does not change, and can be used to commit myriad financial
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~     crimes.
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Q               21.    Plaintiff and the Class Members, as current and former employees and their
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LL    beneficiaries and dependents, relied on this sophisticated Defendant to keep their PII confidential

      and securely maintained, to use this information for business purposes only, and to make only

      authorized disclosures of this highly sensitive PII. Current and former employees and their

      beneficiaries and dependents demand security to safeguard their PII.

                22.    Defendant had a duty to adopt reasonable measures to protect Plaintiff's and Class

      Members' PII from involuntary disclosure of their PII to third parties.

                23.    Defendant's headquarters were at one time located in Cook County, Illinois. In or

      about 2003, however, Defendant moved its headquarters from Cook County to St. Louis,

      Missouri.

                24.    However, subsequent to the relocation of its headquarters, Defendant continued to

      employ persons affected by this data breach in Illinois, including in Cook County, and even hired

      new employees, such as Plaintiff, to work for Defendant while residing and doing substantively

      all of their work in Illinois, including in Cook County.

                25.    On information and belief, Defendant resided in Cook County, Illinois at the time

      it took possession of the PII of some of the Class Members affected by the events detailed in this

      3         https://investor.belden.com/investor-resources/investor-faq/default.aspx   (last   accessed
      Dec. 24, 2020).


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      complaint.

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It            The Data Breach
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U             26.      Beginning on or about November 24, 2020, Belden sent current and former
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~     employees and some business partners a Notice of Data Incident.4               Belden informed the
a
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      recipients of the notice that:
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~                      On the evening of November 12, 2020, Belden IT professionals
w                      detected unusual activity involving certain company servers. We
a                      immediately triggered our cybersecurity incident response plan,
0
0                      deployed teams of internal IT specialists, and engaged leading
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LL                     third-party cybersecurity forensic experts and other advisors to
                       identify the scope of the incident and move quickly to mitigate the
                       impact. Forensics experts determined that we were the target of a
                       sophisticated attack by a party outside the company. On or about
                       November 15, 2020, we learned that the outside party accessed
                       servers that contained personal information of some current and
                       former employees.

                       The personal information involved in this incident may have
                       included your: name, birthdate, government-issued identification
                       numbers (for example, social security number), bank account
                       information (for North American employees on Belden payroll),
                       home addresses, email addresses and other general employment-
                       related information.5

              27.      On or about December 14, 2020, Belden sent data breach notifications to various

      state Attorneys General, including California's Attorney General, Xavier Becerra.6

              28.      Belden admitted in the Notice of Data Incident that there was unauthorized access

      to files that contained information about current and former employees and business partners,

      including names, birthdates, social security or tax identification numbers, financial accounts

      numbers provided to Belden for direct deposit, and other "employment-related information."

              29.      In response to the Data Breach, Belden claims that it notified law enforcement

      4       See   Ex. 1.
      5       Id.
      6       See   https://oag.ca.gov/privacy/databreach/list (last accessed Dec. 29, 2020).

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and worked to support the investigation.        Defendant also states that it is "continuously

monitoring for any suspicious activity on our systems and [has] deployed additional resources to

reinforce the security of our systems."7

        30.     Additionally, other companies, former subsidiaries of Belden, such as Grass

Valley USA, LLC, had employees or former employees who were affected because Belden held

their employees' PII past their divestiture.g

        31.     Plaintiff's and Class Members' unencrypted information may end up for sale on

the dark web, or simply fall into the hands of companies that will use the detailed PII for targeted

marketing without the affected current or former employees' approval. Unauthorized individuals

can easily access the PII of Belden's current and former employees and their beneficiaries and

dependents.

        32.     Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive, unencrypted information it was maintaining for current and former

employees and their beneficiaries and dependents, causing Plaintiff's and Class Members' PII to

be exposed.

        Belden Acquires, Collects and Stores Plaintiff s and Class Members' PII.

        33.     Belden has acquired, collected, and stored its current and former employees' PII

from at least 2007 to 2020.

        34.     As a condition of maintaining employment with Belden, it requires its employees

to entrust it with highly confidential PII.

        35.     By obtaining, collecting, and storing Plaintiff's and Class Members' PII, Belden


7       See Ex. A at l.
g       See             https://oa g_a.gov/system/files/Breach%20Notification%20Template%20-
                                    .c
%20%28Grass%20Valley%29°/o20%28US%29.pdf (last accessed Dec. 30, 2020).

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assumed legal and equitable duties and knew or should have known that it was responsible for

protecting Plaintiff's and Class Members' PII from disclosure.

        36.    Plaintiff and the Class Members have taken reasonable steps to maintain the

confidentiality of their PII. Plaintiff and the Class Members, as current and former employees,

relied on Belden to keep their PII confidential and securely maintained, to use this information

for business purposes only, and to make only authorized disclosures of this information.

        Securing PII and Preventing Breaches

        37.    Defendant could have prevented this Data Breach by properly securing and

encrypting the files and servers containing Plaintiff's and Class Members' PII. Indeed, Belden

could and should have destroyed the data, especially decade-old data from former employees,

employees of former companies, and, on information and belief, the dependents and

beneficiaries of both.

        38.    Defendant's negligence in safeguarding its employees', former employees', and

their dependents' and beneficiaries' PII is exacerbated in light of the repeated warnings and

alerts directed to companies warning them to protect and secure sensitive data.

        39.    Despite the prevalence of public announcements of data breach and data security

compromises, Defendant failed to take appropriate steps to protect the PII of Plaintiff and the

proposed Class from being compromised.

        40.    The Federal Trade Commission ("FTC") defines identity theft as "a fraud

committed or attempted using the identifying information of another person without authority."9

The FTC describes "identifying information" as "any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person," including, among other


9       17 C.F.R. § 248.201 (2013).

                                                6
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    things, "[n]ame, Social Security number, date of birth, official State or government issued

~   driver's license or identification number, alien registration number, government passport
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5            41.     The ramifications of Defendant's failure to keep its employees' and former

    employees' PII secure are long lasting and severe. Once PII is stolen, particularly Social Security

    numbers and bank account numbers, fraudulent use of that information and damage to victims

    may continue for years.

              Value of Personally Identifiable Information

             42.     Consumers' PII remains of high value to criminals, as evidenced by the prices

    they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity

    credentials. For example, personal information can be sold at a price ranging from $40 to $200,

    and bank details have a price range of $50 to $200.11     Experian reports that a stolen credit or

    debit card number can sell for $5 to $110 on the dark web.12 Criminals can also purchase access

    to entire company data breaches from $900 to $4,500.13

             43.     Social Security numbers, for example, are among the worst kind of personal

    information to have stolen because they may be put to a variety of fraudulent uses and are

    difficult for an individual to change. The Social Security Administration stresses that the loss of

    an individual's Social Security number, as is the case here, can lead to identity theft and
    10      Id.
    II       Your personal data is for sale on the dark web. Here's how much it costs, Digital
    Trends, Oct. 16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-
    sold-on-the-dark-web-how-much-it-costs/ (last accessed Dec. 29, 2020).
    12      Here's How Much Your Personal Information Is Selling for on the Dark Web, Experian,
    Dec. 6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-
    your-personal-information-is-selling-for-on-the-dark-web/, last accessed Dec. 29, 2020.
    13        In      the      Dark,         VPNOverview,           2019,       available   at:
    https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/ (last accessed Dec. 29,
    2020).


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extensive financial fraud:

               A dishonest person who has your Social Security number can use it
               to get other personal information about you. Identity thieves can
               use your number and your good credit to apply for more credit in
               your name. Then, they use the credit cards and don't pay the bills,
               it damages your credit. You may not find out that someone is using
               your number until you're turned down for credit, or you begin to
               get calls from unknown creditors demanding payment for items
               you never bought. Someone illegally using your Social Security
               number and assuming your identity can cause a lot of problems.14

       44.     What is more, it is no easy task to change or cancel a stolen Social Security

number. An individual cannot obtain a new Social Security number without significant

paperwork and evidence of actual misuse. In other words, preventive action to defend against

the possibility of misuse of a Social Security number is not permitted; an individual must show

evidence of actual, ongoing fraud activity to obtain a new number.

       45.     Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, "The credit bureaus and banks are able to link

the new number very quickly to the old number, so all of that old bad information is quickly

inherited into the new Social Security number." ls

       46.     Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer

data breach, because, there, victims can cancel or close credit and debit card accounts. The

information compromised in this Data Breach is impossible to "close" and difficult, if not

impossible, to change—Social Security number, driver's license number or government-issued


14
       Social Security Administration, Identity Theft and Your Social Security Number,
available at: https://www.ssa.gov/pubs/EN-05-10064.-Pdf (last accessed Dec. 29, 2020).
ls     Bryan Naylor, Victims of Social Security Number Theft Find It's Hard to Bounce Back,
NPR (Feb. 9, 2015), available at: http://www.npr.org/2015/02/09/384875839/data-stolen-by-
anthem-s-hackers-has-millionsworrying-about-identity-tlieft (last accessed Dec. 29, 2020).

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identification number, name, and date of birth.

         47.    This data demands a much higher price on the black market. Martin Walter,

senior director at cybersecurity firm RedSeal, explained, "Compared to credit card information,

personally identifiable information and Social Security numbers are worth more than lOx on the

black market."16

         48.    Among other forms of fraud, identity thieves may obtain driver's licenses,

government benefits, medical services, and housing or even give false information to police.

         49.    The fraudulent activity resulting from the Data Breach may not come to light for

years.

         50.    There may be a time lag between when harm occurs versus when it is discovered,

and also between when PII is stolen and when it is used. According to the U.S. Government

Accountability Office ("GAO"), which conducted a study regarding data breaches:

                [L]aw enforcement officials told us that in some cases, stolen data
                may be held for up to a year or more before being used to commit
                identity theft. Further, once stolen data have been sold or posted on
                the Web, fraudulent use of that information may continue for
                years. As a result, studies that attempt to measure the harm
                resulting from data breaches cannot necessarily rule out all future
                        17
                harm.

         51.    At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding its employees' and former employees' PII, including Social Security

numbers, bank account numbers and dates of birth, and of the foreseeable consequences that

would occur if Defendant's data security system was breached, including, specifically, the
16      Time Greene, Anthem Hack: Personal Data Stolen Sells for IOx Price of Stolen Credit
Card        Numbers,        IT     World,       (Feb.     6,       2015), available       at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-1 Ox-
price-of-stolen-credit-card-numbers.html (last accessed Dec. 29, 2020).
17      Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
http://www.gao.pov/new.items/d07737.pdf (last accessed Dec. 29, 2020).

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significant costs that would be imposed on Defendant's current and former employees and their

beneficiaries and dependents as a result of a breach.

        52.     Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their PII.

        53.     Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant's file servers, amounting to potentially thousands of

individuals' detailed, personal information and, thus, the significant number of individuals who

would be harmed by the exposure of the unencrypted data.

        54.     To date, Defendant has offered its current and former employees only two years

of credit monitoring service through a single credit bureau, Experian. The offered service is

inadequate to protect Plaintiff and Class Members from the threats they face for years to come,

particularly in light of the highly sensitive PII at issue here.

        55.     The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant's failure to implement or maintain adequate data security measures for the PII of

its current and former employees and their beneficiaries and dependents.

        PlaintiffEdke's Experience

        56.     From in or about February 2007 to February 2011, Plaintiff Anand Edke worked

for Belden, Inc. and was based in Illinois. As a condition of employment, Belden required that he

provide his sensitive PII, including but not limited to his name, date of birth, address,

government issued identification numbers (including, for example, his driver's license and Social

Security number), financial account information such as bank account numbers, email addresses,

and other "general employment-related information," which could include his electronic


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signature and personally identifying information for beneficiaries and/or dependents.

       57.     Mr. Edke received the Notice of Data Breach, dated December 16, 2020, on or

about that date.

       58.     As a result of the Data Breach notice, Mr. Edke has spent time dealing with the

consequences of the Data Breach, including time spent verifying the legitimacy of the Notice of

Data Breach, exploring credit monitoring and identity theft insurance options, signing up and

routinely monitoring the credit monitoring offered by Belden, and self-monitoring his accounts.

This time has been lost forever and cannot be recaptured.

       59.     Additionally, Mr. Edke has not been involved in any data breaches in the last five

years, and is very careful about sharing his PII. He has never knowingly transmitted unencrypted

PII over the internet or any other unsecured source.

       60.     Mr. Edke stores any documents containing his PII in a safe and secure location, or

destroys the documents by shredding them. Moreover, he diligently chooses unique usernames

and passwords for his various online accounts.

       61.     Mr. Edke suffered actual injury in the form of damages to and diminution in the

value of his PII—a form of intangible property that Mr. Edke entrusted to Defendant for the

purpose of his employment, which was compromised in, and as a result of, the Data Breach.

       62.     Mr. Edke suffered lost time, annoyance, interference, and inconvenience as a

result of the Data Breach and has anxiety and increased concerns for the loss of his privacy.

       63.     Mr. Edke has suffered imminent and impending injury arising from the

substantially increased risk of fraud, identity theft, and misuse resulting from his PII, especially

his Social Security number, being placed in the hands of unauthorized third-parties and possibly

criminals.


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             64.    Mr. Edke has a continuing interest in ensuring that his PII, which, upon

a    information and belief, remains in Defendant's possession, is protected and safeguarded from
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U    future breaches.
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~                                        CLASS ALLEGATIONS
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             65.    This action satisfies the prerequisites for maintenance as a class action pursuant to
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se   735 ILCS 5/2-801, et seq., as set forth below.
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0            66.    Class Definition. Plaintiff brings this action individually and on behalf of the
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~
U-   following class of similarly situated persons (the "Nationwide Class"), of which Plaintiff is a

     member:

                    All individuals whose PII was compromised in the data breach first

                    announced by Belden on or about November 24, 2020 (the "Class").

             67.    Additionally, Plaintiff brings this action individually and on behalf of the

     following class of similarly situated persons (the "Illinois Subclass"), of which Plaintiff is a

     member:

                    All Illinois residents whose PII was compromised in the data breach first

                    announced by Belden on or about November 24, 2020 (the "Illinois

                    Subclass")

            68.     The Nationwide Class and the Illinois Subclass are collectively referred to herein

     as the "Class." Excluded from the Class and the Illinois Subclass are the presiding judge, Class

     counsel and any member of their immediate families. Plaintiff hereby reserves the right to

     amend the class definition based on discovery and the proofs at trial.

            69.     Numerosity. The members of the Class are so numerous that joinder of all

     members would be impracticable. The precise number of Class Members is unknown to Plaintiff


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but is believed to be at least in the thousands. The true number of Class Members should be

known by Defendant, however, and potential Class Members may be notified of the pendency of

this action by first class mail, electronic mail, and/or published notice as appropriate and as

determined by the court.

       70.     Commonality. Common questions of law and fact exist as to all members of the

Class and -predominate over any questions affecting only individual Class Members. These

common legal and factual questions include, inter alia, the following:

               (1)     Whether and to what extent Defendant had a duty to protect the PII of

               Plaintiff and Class Members;

               (2)     Whether Defendant had respective duties not to disclose the PII of

               Plaintiff and Class Members to unauthorized third parties;

               (3)    Whether Defendant had respective duties not to use the PII of Plaintiff and

               Class Members for non-business purposes;

               (4)    Whether Defendant failed to adequately safeguard the PII of Plaintiff and

               Class Members;

               (5)    Whether and when Defendant actually learned of the Data Breach;

               (6)    Whether Defendant adequately, promptly, and accurately informed

               Plaintiff and Class Members that their PII had been compromised;

               (7)    Whether Defendant violated the law by failing to promptly notify Plaintiff

               and Class Members that their PII had been compromised;

               (8)    Whether Defendant failed to implement and maintain reasonable security

               procedures and practices appropriate to the nature and scope of the information

               compromised in the Data Breach;


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               (9)     Whether Defendant adequately addressed and fixed the vulnerabilities

               which permitted the Data Breach to occur;

               (10)    Whether Plaintiff and Class Members are entitled to actual, damages,

               statutory damages, and/or punitive damages as a result of Defendant's wrongful

               conduct; and

               (11)    Whether Plaintiff and Class Members are entitled to restitution as a result

               of Defendant's wrongful conduct.

       71.     Typicality. The claims of Plaintiff are typical of the claims of the members of the

Class because, inter alia, all Class Members were injured through the uniform misconduct

described above. Plaintiff is advancing the same claims and legal theories on behalf of himself

and all members of the Class.

       72.     Adequacy. Plaintiff will fairly and adequately protect the interests of the Class.

Plaintiff has retained highly competent counsel and experienced class action attorneys to

represent his interests and that of the Class. Plaintiff and his counsel have the necessary

financial resources to adequately and vigorously litigate this class action. Plaintiff has no

adverse or antagonistic interests to those of the Class. Plaintiff is willing and prepared to serve

the Court and the Class Members in a representative capacity with all of the obligations and

duties material thereto and is determined to diligently discharge those duties by vigorously

seeking the maximum possible recovery for Class Members.

       73.     Appropriateness. A class action is an appropriate method for the fair and efficient

adjudication of this controversy. The common questions of law and fact enumerated above

predominate over questions affecting only individual members of the Class. Also, the likelihood

that individual members of the Class will prosecute separate actions is remote due to the


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     extensive time and considerable expense necessary to conduct such litigation, especially in view

~    of the relatively modest amount of monetary relief at issue for individual Class Members.
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U            74.    A class action will cause an orderly and expeditious administration of the claims
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~    of the Class. Economies of time, effort, and expense will be fostered and uniformity of decisions
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     will be ensured.
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~            75.    Plaintiff does not anticipate any undue difficulty in the management of this
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0    litigation.
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LL                                  FIRST CLAIM FOR RELIEF
                                               Negligence
                            (On Behalf of Plaintiff and the Nationwide Class)

             76.    Plaintiff re-alleges and incorporates by reference herein all of the allegations

     contained in paragraphs 1 through 75.

             77.    As a condition of their employment with Defendant, Defendant's current and

     former employees were obligated to provide Defendant with certain PII, including their names,

     Social Security numbers, driver's license numbers or government-issued identification numbers,

     financial account numbers provided for direct deposit, and dates of birth and those of their

     beneficiaries and dependents.

             78.    Plaintiff and the Class Members entrusted their PII and that of their beneficiaries

     and dependents to Defendant on the premise and with the understanding that Defendant would

     safeguard their information, use their PII for business purposes only, and/or not disclose their PII

     to unauthorized third parties.

             79.    Defendant has full knowledge of the sensitivity of the PII and the types of harm

     that Plaintiff and Class Members could and would suffer if the PII were wrongfully disclosed.

             80.    Defendant knew or reasonably should have known that the failure to exercise due


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care in the collecting, storing, and using of their current and former employees' PII, and that of

their beneficiaries and dependents, involved an unreasonable risk of harm to Plaintiff and Class

Members, even if the harm occurred through the criminal acts of a third party.

       81.     Defendant had a duty to exercise reasonable care in safeguarding, securing, and

protecting such information from being compromised, lost, stolen, misused, and/or disclosed to

unauthorized parties.   This duty includes, among other things, designing, maintaining, and

testing Defendant's security protocols to ensure that Plaintiff's and Class Members' information

in Defendant's possession was adequately secured and protected.

       82.     Defendant also had a duty to have procedures in place to detect and prevent the

improper access and misuse of Plaintiff s and Class Members' PII.

       83.     A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class Members was reasonably foreseeable, particularly in light of Defendant's inadequate

security practices.

       84.     Plaintiff and the Class Members were the foreseeable and probable victims of any

inadequate security practices and procedures. Defendant knew of should have known of the

inherent risks in collecting and storing the PII of Plaintiff and the Class, the critical importance

of providing adequate security of that PII, and the necessity for encrypting PII stored on

Defendant's systems.

       85.     Defendant's own conduct created a foreseeable risk of harm to Plaintiff and Class

Members. Defendant's misconduct included, but was not limited to, its failure to take the steps

and opportunities to prevent the Data Breach as set forth herein. Defendant's misconduct also

included its decisions not to comply with industry standards for the safekeeping of Plaintiff's and

Class Members' PII, including basic encryption techniques freely available to Defendant.
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        86.     Plaintiff and the Class Members had no ability to protect their PII that was in, and

possibly remains in, Defendant's possession.

        87.     Defendant was in a position to protect against the harm suffered by Plaintiff and

Class Members as a result of the Data Breach.

        88.     Defendant had and continues to have a duty to adequately disclose that the PII of

Plaintiff and Class Members within Defendant's possession might have been compromised, how

it was compromised, and precisely the types of data that were compromised and when. Such

notice was necessary to allow Plaintiff and the Class Members to take steps to prevent, mitigate,

and repair any identity theft and the fraudulent use of their PII by third parties.

        89.     Defendant had a duty to employ proper procedures to prevent the unauthorized

dissemination of the PII of Plaintiff and Class Members.

        90.    Defendant has admitted that the PII of Plaintiff and Class Members was purposely

exfiltrated and disclosed to unauthorized third persons as a result of the Data Breach.

        91.    Defendant, through its actions and/or omissions, unlawfully breached its duties to

Plaintiff and Class Members by failing to implement industry protocols and exercise reasonable

care in protecting and safeguarding the PII of Plaintiff and Class Members during the time the

PII was within Defendant's possession or control.

        92.    Defendant improperly and inadequately safeguarded the PII of Plaintiff and Class

Members in deviation of standard industry rules, regulations, and practices at the time of the

Data Breach.

        93.    Defendant failed to heed industry warnings and alerts to provide adequate

safeguards to protect its current and former employees' PII in the face of increased risk of theft.

       94.     Defendant, through its actions and/or omissions, unlawfully breached its duty to


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Plaintiff and Class Members by failing to have appropriate procedures in place to detect and

prevent dissemination of its current and former employees' PII.

        95.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

adequately and timely disclose to Plaintiff and Class Members the existence and scope of the

Data Breach.

        96.    But for Defendant's wrongful and negligent breach of duties owed to Plaintiff and

Class Members, the PII of Plaintiff and Class Members would not have been compromised.

        97.    There is a close causal connection between Defendant's failure to implement

security measures to protect the PII of Plaintiff and Class Members and the harm suffered or risk

of imminent harm suffered by Plaintiff and the Class. Plaintiff's and Class Members' PII was

lost and accessed as the proximate result of Defendant's failure to exercise reasonable care in

safeguarding such PII by adopting, implementing, and maintaining appropriate security

measures.

        98.    As a direct and proximate result of Defendant's negligence, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) actual identity

theft; (ii) the loss of the opportunity of how their PII is used; (iii) the compromise, publication,

and/or theft of their PII; (iv) out-of-pocket expenses associated with the prevention, detection,

and recovery from identity theft, tax fraud, and/or unauthorized use of their PII; (v) lost

opportunity costs associated with effort expended and the loss of productivity addressing and

attempting to mitigate the actual and future consequences of the Data Breach, including but not

limited to efforts spent researching how to prevent, detect, contest, and recover from tax fraud

and identity theft; (vi) costs associated with placing freezes on credit reports; (vii) the continued

risk to their PII, which remain in Defendant's possession and is subject to further unauthorized


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disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the PII of its employees and former employees in its possession; and (viii) future costs in terms

of time, effort, and money that will be expended to prevent, detect, contest, and repair the impact

of the PII compromised as a result of the Data Breach for the remainder of Plaintiff's and Class

Members' lives.

       99.     Additionally, as a direct and proximate result of Belden's negligence, Plaintiff

and Class Members have suffered and will suffer the continued risks of exposure of their PII,

which remains in Belden's possession and is subject to further unauthorized disclosures so long

as Belden fails to undertake appropriate and adequate measures to protect the PII in its continued

possession.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and all Class Members, requests

judgment against the Defendant and the following:

       A.      For an Order certifying the Nationwide Class as defined herein, and appointing

               Plaintiff and his counsel to represent the Class;

       B.      For equitable relief enjoining Defendant from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of Plaintiff's and

               the Class Members' PII;

       C.      For injunctive relief requested by Plaintiff, including but not limited to, injunctive

               and other equitable relief as is necessary to protect the interests of Plaintiff and

               Class Members, including but not limited to an order:

              i.   prohibiting Belden from engaging in the wrongful and unlawful acts described

                   herein;


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          ii. requiring Belden to protect, including through encryption, all data collected

               through the course of its business in accordance with all applicable

               regulations, industry standards, and federal, state or local laws;

         iii. requiring Belden to delete, destroy, and purge the personal identifying

               information of Plaintiff and Class Members unless Belden can provide to the

               Court reasonable justification for the retention and use of such information

               when weighed against the privacy interests of Plaintiff and Class Members;

         iv.   requiring Belden to implement and maintain a comprehensive Information

               Security Program designed to protect the confidentiality and integrity of the

               personal identifying information of Plaintiff and Class Members' personal

               identifying information;

          v.   prohibiting Belden from maintaining Plaintiff's and Class Members' personal

               identifying information on a cloud-based database;

         vi.   requiring    Belden     to    engage      independent     third-party   security

               auditors/penetration testers as well as internal security personnel to conduct

               testing, including simulated attacks, penetration tests, and audits on Belden's

               systems on a periodic basis, and ordering Belden to promptly correct any

               problems or issues detected by such third-party security auditors;

         vii. requiring Belden to engage independent third-party security auditors and

               internal personnel to run automated security monitoring;

        viii. requiring Belden to audit, test, and train its security personnel regarding any

               new or modified procedures;

         ix.   requiring Belden to segment data by, among other things, creating firewalls


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               and access controls so that if one area of Belden's network is compromised,

               hackers cannot gain access to other portions of Belden's systems;

          x.   requiring Belden to conduct regular database scanning and securing checks;

         xi.   requiring Belden to establish an information security training program that

               includes at least annual information security training for all employees, with

               additional training to be provided as appropriate based upon the employees'

               respective responsibilities with handling personal identifying information, as

               well as protecting the personal identifying information of Plaintiff and Class

               Members;

         xii. requiring Belden to routinely and continually conduct internal training and

               education, and on an annual basis to inform internal security personnel how to

               identify and contain a breach when it occurs and what to do in response to a

               breach;

        xiii. requiring Belden to implement a system of tests to assess its respective

               employees' knowledge of the education programs discussed in the preceding

               subparagraphs, as well as randomly and periodically testing employees'

               compliance with Belden's policies, programs, and systems for protecting

               personal identifying information;

        xiv.   requiring Belden to implement, maintain, regularly review, and revise as

               necessary a threat management program designed to appropriately monitor

               Belden's information networks for threats, both internal and external, and

               assess whether monitoring tools are appropriately configured, tested, and

               updated;


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              xv.   requiring Belden to meaningfully educate all Class Members about the threats

                    that they face as a result of the loss of their confidential personal identifying

                    information to third parties, as well as the steps affected individuals must take

                    to protect themselves;

            xvi.    requiring Belden to implement logging and monitoring programs sufficient to

                    track traffic to and from Belden's servers; and

            xvii. for a period of 10 years, appointing a qualified and independent third party

                    assessor to conduct a SOC 2 Type 2 attestation on an annual basis to evaluate

                    Belden's compliance with the terms of the Court's final judgment, to provide

                    such report to the Court and to counsel for the class, and to report any

                    deficiencies with compliance of the Court's final judgment; and

       D.       For an award of damages, including actual, nominal, and consequential damages,

                as allowed by law in an amount to be determined;

       E.       For pre- and post judgment interest on all amounts awarded; and

       F.       Such other and further relief as this Court may deem just and proper.



                              SECOND CLAIM FOR RELIEF
                                      Negligence Per Se
                       (On Behalf of Plaintiff and the Nationwide Class)

       100.     Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in paragraphs 1 through 75.

       101.     Section 5 of the FTC Act prohibits "unfair ...           practices in or affecting

commerce," including, as interpreted and enforced by the FTC, the unfair act or practice by

businesses, such as Defendant's, of failing to use reasonable measures to protect PII. The FTC


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publications and orders described above also form part of the basis of Defendant's duty in this

regard.

          102.   Defendant violated Section 5 of the FTC Act by failing to use reasonable

measures to protect PII and not complying with applicable industry standards. Defendant's

conduct was particularly unreasonable given the nature and amount of PII it obtained and stored,

and the foreseeable consequences of the Data Breach for companies of Defendant's magnitude,

including, specifically, the immense damages that would result to Plaintiff and Class Members

due to the valuable nature of the PII at issue in this case—including Social Security numbers.

          103.   Defendant's violations of Section 5 of the FTC Act constitute negligence per se.

          104.   Plaintiff and Class Members are within the class of persons that the FTC Act was

intended to protect.

          105.   The harm that occurred as a result of the Data Breach is the type of harm the FTC

Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

which, as a result of its failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and the Class Members.

          106.   As a direct and proximate result of Defendant's negligence per se, Plaintiff and

Class Members have suffered and will suffer injury, including but not limited to: (i) actual

identity theft; (ii) the loss of the opportunity how their PII is used; (iii) the compromise,

publication, and/or theft of their PII; (iv) out-of-pocket expenses associated with the prevention,

detection, and recovery from identity theft, tax fraud, and/or unauthorized use of their PII; (v)

lost opportunity costs associated with effort expended and the loss of productivity addressing and

attempting to mitigate the actual and future consequences of the Data Breach, including but not

limited to efforts spent researching how to prevent, detect, contest, and recover from tax fraud


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and identity theft; (vi) costs associated with placing freezes on credit reports; (vii) the continued

risk to their PII, which remain in Defendant's possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the PII of its current and former employees in its continued possession; and (viii) future costs in

terms of time, effort, and money that will be expended to prevent, detect, contest, and repair the

impact of the PII compromised as a result of the Data Breach for the remainder of the lives of

Plaintiff and Class Members.

       107.    Additionally, as a direct and proximate result of Belden's negligence per se,

Plaintiff and Class Members have suffered and will suffer the continued risks of exposure of

their PII, which remains in Belden's possession and is subject to further unauthorized disclosures

so long as Belden fails to undertake appropriate and adequate measures to protect the PII in its

continued possession.

                                     PRAYER FOR RELIEF

       VVHEREFORE, Plaintiff, on behalf of himself and all Class Members, requests

judgment against the Defendant and the following:

       A.      For an Order certifying the Nationwide Class as defined herein, and appointing

               Plaintiff and his counsel to represent the Class;

       B.      For equitable relief enjoining Defendant from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of Plaintiff's and

               the Class Members' PII;

       C.      For injunctive relief requested by Plaintiff, including but not limited to, injunctive

               and other equitable relief as is necessary to protect the interests of Plaintiff and

               Class Members, including but not limited to an order:


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              i. prohibiting Belden from engaging in the wrongful and unlawful acts

                 described herein;

              H. requiring Belden to protect, including through encryption, all data

                 collected through the course of its business in accordance with all

                 applicable regulations, industry standards, and federal, state or local laws;

             iii. requiring Belden to delete, destroy, and purge the personal identifying

                 information of Plaintiff and Class Members unless Belden can provide to

                 the Court reasonable justification for the retention and use of such

                 information when weighed against the privacy interests of Plaintiff and

                 Class Members;

             iv. requiring Belden to implement and maintain a comprehensive Information

                 Security Program designed to protect the confidentiality and integrity of

                 the personal identifying information of Plaintiff and Class Members'

                 personal identifying information;

              v. prohibiting Belden from maintaining Plaintiff's and Class Members'

                 personal identifying information on a cloud-based database;

             vi. requiring   Belden     to        engage   independent   third-party   security

                 auditors/penetration testers as well as internal security personnel to

                 conduct testing, including simulated attacks, penetration tests, and audits

                 on Belden's systems on a periodic basis, and ordering Belden to promptly

                 correct any problems or issues detected by such third-party security

                 auditors;

            vii. requiring Belden to engage independent third-party security auditors and


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                  internal personnel to run automated security monitoring;

            viii. requiring Belden to audit, test, and train its security personnel regarding

                 any new or modified procedures;

             ix. requiring Belden to segment data by, among other things, creating

                 firewalls and access controls so that if one area of Belden's network is

                 compromised, hackers cannot gain access to other portions of Belden's

                 systems;

              x. requiring Belden to conduct regular database scanning and securing

                 checks;

             xi. requiring Belden to establish an information security training program that

                 includes at least annual information security training for all employees,

                 with additional training to be provided as appropriate based upon the

                 employees' respective responsibilities with handling personal identifying

                 information, as well as protecting the personal identifying information of

                 Plaintiff and Class Members;

            xii. requiring Belden to routinely and continually conduct internal training and

                 education, and on an annual basis to inform internal security personnel

                 how to identify and contain a breach when it occurs and what to do in

                 response to a breach;

            xiii. requiring Belden to implement a system of tests to assess its respective

                 employees' knowledge of the education programs discussed in the

                 preceding subparagraphs, as well as randomly and periodically testing

                 employees' compliance with Belden's policies, programs, and systems for


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                 protecting personal identifying information;

            xiv. requiring Belden to implement, maintain, regularly review, and revise as

                 necessary a threat management program designed to appropriately monitor

                 Belden's information networks for threats, both internal and external, and

                 assess whether monitoring tools are appropriately configured, tested, and

                 updated;

             xv. requiring Belden to meaningfully educate all Class Members about the

                 threats that they face as a result of the loss of their confidential personal

                 identifying information to third parties, as well as the steps affected

                 individuals must take to protect themselves;

            xvi. requiring Belden to implement logging and monitoring programs

                 sufficient to track traffic to and from Belden's servers; and

           xvii. for a period of 10 years, appointing a qualified and independent third party

                 assessor to conduct a SOC 2 Type 2 attestation on an annual basis to

                 evaluate Belden's compliance with the terms of the Court's final

                 judgment, to provide such report to the Court and to counsel for the class,

                 and to report any deficiencies with compliance of the Court's final

                 judgment; and

    Lo    For an award of damages, including actual, nominal, and consequential damages,

          as allowed by law in an amount to be determined;

    E.    For pre- and postjudgment interest on all amounts awarded; and

    F     Such other and further relief as this Court may deem just and proper.




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                                  THIRD CLAIM FOR RELIEF
                                     Breach of Implied Contract
                           (On Behalf of Plaintiff and the Nationwide Class)

            108.    Plaintiff re-alleges and incorporates by reference herein all of the allegations

    contained in paragraphs 1 through 75.

            109.    Plaintiff and Class Members were required to provide their PII, including names,

    addresses, Social Security numbers, driver's license numbers, financial account numbers, and

    other personal information, to Defendant as a condition of their employment.

            110.    Defendant had an implied duty to reasonably safeguard and protect the PII of

    Plaintiff and Class Members from unauthorized disclosure or uses.

            111.    Additionally, by accepting the PII of its employees, Defendant implicitly

    promised to retain this PII only under conditions that kept such information secure and

    confidential.

            112.    Plaintiff and Class Members fully performed their obligations under the implied

    contract with Defendant. Defendant did not perform its obligations.

            113.    Defendant breached the implied contracts with Plaintiff and Class Members by

I   failing to reasonably safeguard and protect Plaintiff's and Class Members' PII, which was

    disclosed to unauthorized third parties by Defendant's failure to properly secure its sensitive

    data.

            114.    Defendant's acts and omissions have materially affected the intended purpose of

    the implied contacts requiring Plaintiff and Class Members to provide their PII as a condition of

    employment in exchange for compensation and benefits.

            115.    As a direct and proximate result of Defendant's breach of its implied contacts

    with Plaintiff and Class Members, Plaintiff and Class Members have suffered and will suffer


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injury, including but not limited to: (i) the loss of the control over how their PII is used and who

has access to same; (ii) the compromise, publication, and/or theft of their PII; (iii) out-of-pocket

expenses associated with the prevention, detection, and recovery from identity theft, tax fraud,

and/or unauthorized use of their PII; (iv) lost opportunity costs associated with effort expended

and the loss of productivity addressing and attempting to mitigate the actual and future

consequences of the Data Breach, including but not limited to efforts spent researching how to

prevent, detect, contest and recover from tax fraud and identity theft; (v) costs associated with

placing freezes on credit reports; (vi) the continued         risk to their PII, which remain in

Defendant's possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect the PII of employees and

former employees in its continued possession; and, (vii) future costs in terms of time, effort and

money that will be expended to prevent, detect, contest, and repair the impact of the PII

compromised as a result of the Data Breach for the remainder of the lives of Plaintiff and Class

Members.

                                    PRAYER FOR RELIEF

       VVHEREFORE, Plaintiff, on behalf of himself and all Class Members, requests

judgment against the Defendant and the following:

       A.      For an Order certifying the Nationwide Class as defined herein, and appointing

               Plaintiff and his counsel to represent the Class;

       B.      For equitable relief enjoining Defendant from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of PlaintifPs and

               the Class Members' PII;

       C.      For injunctive relief requested by Plaintiff, including but not limited to, injunctive


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          and other equitable relief as is necessary to protect the interests of Plaintiff and

          Class Members, including but not limited to an order:

              i. prohibiting Belden from engaging in the wrongful and unlawful acts

                 described herein;

             ii. requiring Belden to protect, including through encryption, all data

                 collected through the course of its business in accordance with all

                 applicable regulations, industry standards, and federal, state or local laws;

             iii. requiring Belden to delete, destroy, and purge the personal identifying

                 information of Plaintiff and Class Members unless Belden can provide to

                 the Court reasonable justification for the retention and use of such

                 information when weighed against the privacy interests of Plaintiff and

                 Class Members;

             iv. requiring Belden to implement and maintain a comprehensive Information

                 Security Program designed to protect the confidentiality and integrity of

                 the personal identifying information of Plaintiff and Class Members'

                 personal identifying information;

             v. prohibiting Belden from maintaining Plaintiff's and Class Members'

                 personal identifying information on a cloud-based database;

             vi. requiring    Belden    to        engage   independent   third-party   security

                 auditors/penetration testers as well as internal security personnel to

                 conduct testing, including simulated attacks, penetration tests, and audits

                 on Belden's systems on a periodic basis, and ordering Belden to promptly

                 correct any problems or issues detected by such third-party security


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                 auditors;

            vii. requiring Belden to engage independent third-party security auditors and

                 internal personnel to run automated security monitoring;

            viii. requiring Belden to audit, test, and train its security personnel regarding

                 any new or modified procedures;

             ix. requiring Belden to segment data by, among other things, creating

                 firewalls and access controls so that if one area of Belden's network is

                 compromised, hackers cannot gain access to other portions of Belden's

                 systems;

              x. requiring Belden to conduct regular database scanning and securing

                 checks;

             xi. requiring Belden to establish an information security training program that

                 includes at least annual information security training for all employees,

                 with additional training to be provided as appropriate based upon the

                 employees' respective responsibilities with handling personal identifying

                 information, as well as protecting the personal identifying information of

                 Plaintiff and Class Members;

            xii. requiring Belden to routinely and continually conduct internal training and

                 education, and on an annual basis to inform internal security personnel

                 how to identify and contain a breach when it occurs and what to do in

                 response to a breach;

            xiii. requiring Belden to implement a system of tests to assess its respective

                 employees' knowledge of the education programs discussed in the


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                 preceding subparagraphs, as well as randomly and periodically testing

                 employees' compliance with Belden's policies, programs, and systems for

                 protecting personal identifying information;

            xiv. requiring Belden to implement, maintain, regularly review, and revise as

                 necessary a threat management program designed to appropriately monitor

                 Belden's information networks for threats, both internal and external, and

                 assess whether monitoring tools are appropriately configured, tested, and

                 updated;

            xv. requiring Belden to meaningfully educate all Class Members about the

                 threats that they face as a result of the loss of their confidential personal

                 identifying information to third parties, as well as the steps affected

                 individuals must take to protect themselves;

            xvi. requiring Belden to implement logging and monitoring programs

                 sufficient to track traffic to and from Belden's servers; and

           xvii. for a period of 10 years, appointing a qualified and independent third party

                 assessor to conduct a SOC 2 Type 2 attestation on an annual basis to

                 evaluate Belden's compliance with the terms of the Court's final

                 judgment, to provide such report to the Court and to counsel for the class,

                 and to report any deficiencies with compliance of the Court's final

                 judgment; and

    D.    For an award of damages, including actual, nominal, and consequential damages,

          as allowed by law in an amount to be determined;

    E.    For an award of punitive damages;


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       F.      For an award of attorneys' fees, costs, and litigation expenses, as allowed by law;

        G.     For prejudgment interest on all amounts awarded; and

        H.      Such other and further relief as this Court may deem just and proper.


                               FOURTH CLAIM FOR RELIEF
                   Violation of Illinois Personal Information ProtectionAct,
                               815 I11. Comg. Stat. 530/1, et seg.
                       (On Behalf of Plaintiff and the Illinois Subclass)

        116.   Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in paragraphs 1 through 75.

       117.    By employing Illinois residents and collecting and storing the PII of those Illinois

residents, Defendant is obligated to comply with the Illinois Personal Infonnation Protection Act,

815 Ill. Comp. Stat. 530/1, et seq.("IPIPA").

       118.    Defendant is a"data collector" within the meaning of IPIPA.

       119.    IPIPA requires a data collector that "maintains or stores ... records that contain

personal information concerning an Illinois resident" to "implement and maintain reasonable

security measures to protect those records from unauthorized access, acquisition, ... use, ...

or disclosure." IPIPA, 815 Ill. Comp. Stat. 530/45(a).

       120.    Defendant violated IPIPA by failing to implement and maintain reasonable

security measures to protect the records of Illinois residents from unauthorized access,

acquisition, use, or disclosure.

       121.    Defendant improperly and inadequately safeguarded the PII of Plaintiff and

Illinois Subclass members in deviation of standard industry rules, regulations and practices

regarding data security and data transmission at the time of the Data Breach.




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       122.   Defendant, through its actions and/or omissions, violated the IPIPA by failing to

have appropriate procedures in place to prevent unauthorized access or dissemination of its

employees' PII.

       123.   As a direct and proximate result of the actions alleged above, Plaintiff and Illinois

Subclass members have suffered actual damages.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and all Illinois Subclass members,

requests judgment against the Defendant and the following:

       A.     For an Order certifying the Illinois Subclass as defined herein, and appointing

              Plaintiff and his counsel to represent the Illinois Subclass;

       B.     For equitable relief enjoining Defendant from engaging in the wrongful conduct

              complained of herein pertaining to the misuse and/or disclosure of Plaintiff's and

              the Illinois Subclass members' PII;

       C.     For injunctive relief requested by Plaintiff, including but not limited to, injunctive

              and other equitable relief as is necessary to protect the interests of Plaintiff and

              Class Members, including but not limited to an order:

                   i. prohibiting Belden from engaging in the wrongful and unlawful acts

                      described herein;

                  ii. requiring Belden to protect, including through encryption, all data

                      collected through the course of its business in accordance with all

                      applicable regulations, industry standards, and federal, state or local laws;

                  iii. requiring Belden to delete, destroy, and purge the personal identifying

                      information of Plaintiff and Class Members unless Belden can provide to


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                       the Court reasonable justification for the retention and use of such

~                      information when weighed against the privacy interests of Plaintiff and
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U                      Class Members;
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~                 iv. requiring Belden to implement and maintain a comprehensive Information
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LL                 v. prohibiting Belden from maintaining Plaintiffls and Class Members'

                       personal identifying information on a cloud-based database;

                  vi. requiring    Belden    to        engage   independent   third-party   security

                       auditors/penetration testers as well as internal security personnel to

                       conduct testing, including simulated attacks, penetration tests, and audits

                       on Belden's systems on a periodic basis, and ordering Belden to promptly

                       correct any problems or issues detected by such third-party security

                       auditors;

                 vii. requiring Belden to engage independent third-party security auditors and

                      internal personnel to run automated security monitoring;

                 viii. requiring Belden to audit, test, and train its security personnel regarding

                      any new or modified procedures;

                  ix. requiring Belden to segment data by, among other things, creating

                      firewalls and access controls so that if one area of Belden's network is

                      compromised, hackers cannot gain access to other portions of Belden's

                      systems;


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              x. requiring Belden to conduct regular database scanning and securing

                 checks;

             xi. requiring Belden to establish an information security training program that

                 includes at least annual information security training for all employees,

                 with additional training to be provided as appropriate based upon the

                 employees' respective responsibilities with handling personal identifying

                 information, as well as protecting the personal identifying information of

                 Plaintiff and Class Members;

            xii. requiring Belden to routinely and continually conduct internal training and

                 education, and on an annual basis to inform internal security personnel

                 how to identify and contain a breach when it occurs and what to do in

                 response to a breach;

            xiii. requiring Belden to implement a system of tests to assess its respective

                 employees' knowledge of the education programs discussed in the

                 preceding subparagraphs, as well as randomly and periodically testing

                 employees' compliance with Belden's policies, programs, and systems for

                 protecting personal identifying information;

            xiv. requiring Belden to implement, maintain, regularly review, and revise as

                 necessary a threat management program designed to appropriately monitor

                 Belden's information networks for threats, both internal and external, and

                 assess whether monitoring tools are appropriately configured, tested, and

                 updated;

             xv. requiring Belden to meaningfully educate all Class Members about the


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                      threats that they face as a result of the loss of their confidential personal

                      identifying information to third parties, as well as the steps affected

                      individuals must take to protect themselves;

                xvi. requiring Belden to implement logging and monitoring programs

                      sufficient to track traffic to and from Belden's servers; and

                xvii. for a period of 10 years, appointing a qualified and independent third party

                      assessor to conduct a SOC 2 Type 2 attestation on an annual basis to

                      evaluate Belden's compliance with the terms of the Court's final

                      judgment, to provide such report to the Court and to counsel for the class,

                      and to report any deficiencies with compliance of the Court's final

                      judgment; and

       D.     For an award of damages, including actual, nominal, and consequential damages,

              as allowed by law in an amount to be determined;

       E.     For an award of punitive damages;

       F.     For an award of attorneys' fees, costs, and litigation expenses, as allowed by law;

       G.     For prejudgment interest on all amounts awarded; and

       H.     Such other and further relief as this Court may deem just and proper.


                               FIFTH CLAIIVI FOR RELIEF
                           Uniust Enrichinent, in the Alternative
                      (By Plaintiff, on Behalf of the Nationwide Class)

       124.   Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in paragraphs 1 through 75.

       125.   Plaintiff and Class Members conferred a monetary benefit upon Defendant in the

form of storing their PII with Defendant in such away that saved expense and labor for

Defendant.
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       126.    Defendant appreciated or had knowledge of the benefits conferred upon it by

Plaintiff and Class Members. Defendant also benefited from the receipt of Plaintiff's and Class

Members' PII, as this was used by Defendant to facilitate human resources functions.

       127.    The benefits given by Plaintiff and Class Members to Defendant were to be used

by Defendant, in part, to pay for or recoup the administrative costs of reasonable data privacy

and security practices and procedures.

       128.    As a result of Defendant's conduct, Plaintiff and Class Members suffered actual

damages in an amount to be determined at trial.

       129.    Under principals of equity and good conscience, Defendant should not be

permitted to retain a benefit belonging to Plaintiff and Class Members because Defendant failed

to implement (or adequately implement) the data privacy and security practices and procedures

that Plaintiff and Class Members granted to Defendant or were otherwise mandated by federal,

state, and local laws and industry standards.

       130.    Defendant should be compelled to disgorge into a common fund for the benefit of

Plaintiff and Class Members all unlawful or inequitable proceeds or benefits it received as a

result of the conduct alleged herein.

                                    PRAYER FOR RELIEF

       VVHEREFORE, Plaintiff, on behalf of himself and all Class Members, requests

judgment against the Defendant and the following:

       A.      For an Order certifying the Class as defined herein, and appointing Plaintiff and

               his counsel to represent the Class;

       B.      For equitable relief enjoining Defendant from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of Plaintiff's and


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          the Class Members' PII;

    C.    For injunctive relief requested by Plaintiff, including but not limited to, injunctive

          and other equitable relief as is necessary to protect the interests of Plaintiff and

          Class Members, including but not limited to an order:

              i. prohibiting Belden from engaging in the wrongful and unlawful acts

                 described herein;

             ii. requiring Belden to protect, including through encryption, all data

                 collected through the course of its business in accordance with all

                 applicable regulations, industry standards, and federal, state or local laws;

             iii. requiring Belden to delete, destroy, and purge the personal identifying

                  information of Plaintiff and Class Members unless Belden can provide to

                 the Court reasonable justification for the retention and use of such

                 information when weighed against the privacy interests of Plaintiff and

                  Class Members;

             iv. requiring Belden to implement and maintain a comprehensive Information

                  Security Program designed to protect the confidentiality and integrity of

                 the personal identifying information of Plaintiff and Class Members'

                 personal identifying information;

              v. prohibiting Belden from maintaining Plaintiff's and Class Members'

                 personal identifying information on a cloud-based database;

             vi. requiring    Belden     to    engage    independent     third-party   security

                 auditors/penetration testers as well as internal security personnel to

                  conduct testing, including simulated attacks, penetration tests, and audits


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                  on Belden's systems on a periodic basis, and ordering Belden to promptly

                  correct any problems or issues detected by such third-party security

                  auditors;

             vii. requiring Belden to engage independent third-party security auditors and

                  internal personnel to run automated security monitoring;

            viii. requiring Belden to audit, test, and train its security personnel regarding

                 any new or modified procedures;

             ix. requiring Belden to segment data by, among other things, creating

                 firewalls and access controls so that if one area of Belden's network is

                 compromised, hackers cannot gain access to other portions of Belden's

                 systems;

              x. requiring Belden to conduct regular database scanning and securing

                 checks;

             xi. requiring Belden to establish an information security training program that

                 includes at least annual information security training for all employees,

                 with additional training to be provided as appropriate based upon the

                 employees' respective responsibilities with handling personal identifying

                 information, as well as protecting the personal identifying information of

                 Plaintiff and Class Members;

            xii. requiring Belden to routinely and continually conduct internal training and

                 education, and on an annual basis to inform internal security personnel

                 how to identify and contain a breach when it occurs and what to do in

                 response to a breach;


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            xiii. requiring Belden to implement a system of tests to assess its respective

                 employees' knowledge of the education programs discussed in the

                 preceding subparagraphs, as well as randomly and periodically testing

                 employees' compliance with Belden's policies, programs, and systems for

                 protecting personal identifying information;

            xiv. requiring Belden to implement, maintain, regularly review, and revise as

                 necessary a threat management program designed to appropriately monitor

                 Belden's information networks for threats, both internal and external, and

                 assess whether monitoring tools are appropriately configured, tested, and

                 updated;

             xv. requiring Belden to meaningfully educate all Class Members about the

                 threats that they face as a result of the loss of their confidential personal

                 identifying information to tliird parties, as well as the steps affected

                 individuals must take to protect themselves;

            xvi. requiring Belden to implement logging and monitoring programs

                 sufficient to track traffic to and from Belden's servers; and

           xvii. for a period of 10 years, appointing a qualified and independent third party

                 assessor to conduct a SOC 2 Type 2 attestation on an annual basis to

                 evaluate Belden's compliance with the terms of the Court's final

                 judgment, to provide such report to the Court and to counsel for the class,

                 and to report any deficiencies with compliance of the Court's final

                 judgment; and




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              D.      For an award of damages, including actual, nominal, and consequential damages,

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00                    as allowed by law in an amount to be determined;
 0
 _
 U            E.      For an award of punitive damages;
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O
N
              F.      For an award of attorneys' fees, costs, and litigation expenses, as allowed by law;

              G.      For pre- and postjudgment interest on all amounts awarded; and

              H.      Such other and further relief as this Court may deem just and proper.

                                        DEIVIAND FOR JURY TRIAL

              Plaintiff hereby demands a jury trial for all matters so triable.


     DATED: January 6, 2021                          Respectfully Submitted,


                                             By:      Carl V. Malmstrom
                                                     Carl Malmstrom
                                                     WOLF HALDENSTEIN ADLER
                                                        FREEIVIAN & HERZ LLC
                                                     Attorney No. 38819
                                                     malmstrom@whafh.com
                                                     1 I 1 W. Jackson Blvd., Suite 1700
                                                     Chicago, IL 60604
                                                     Telephone: 312/984-0000
                                                     Facsimile: 212/545-4653
                                                     M. ANDERSON BERRY (Pro Hac Vice
                                                     Forthcoming)
                                                     LESLIE GUILLON
                                                     ARDC No. 6279810
                                                     CLAYEO C. ARNOLD,
                                                     A PROFESSIONAL LAW CORP.
                                                     aberry@justice4you.com
                                                     Iguillon@justice4you.com
                                                     865 Howe Avenue
                                                     Sacramento, CA 95825
                                                     Telephone: (916) 777-7777
                                                     Facsimile: (916) 924-1829
     whafhch56165




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                                                                                          1/7/2021 2:14 PM
                                                                                          IRIS Y. MARTINEZ
                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS CIRCUIT CLERK
                                                              COOK COUNTY, IL
                    COUNTY DEPARTMENT, CHANCERY DIVISION      2021CH00047

                                                                                          11746495
ANAND EDKE, on behalf of himself and all Case No.: 2021-CH-47
others similarly situated,

       Plaintiff,

V.

BELDEN, INC.,

       Defendant.



                    PLAINTIFF'S MOTION FOR CLASS CERTIFICATION'

        Plaintiff Anand Edke, individually and on behalf of all others similarly situated, by and

through his undersigned attorneys, respectfully moves this Court, pursuant to 735 ILCS 5/2-801,

et seq., for an Order certifying this litigation as a class action on behalf of the following class:

       All individuals whose PII was compromised in the data breach first announced by

       Belden on or about November 24, 2020 (the "Nationwide Class")

Additionally, Plaintiff respectfully moves this Court, pursuant to 735 ILCS 5/2-801, et seq., for

an Order certifying this litigation as a class action on behalf of the following class:

       All Illinois residents whose PII was compromised in the data breach first

       announced by Belden on or about November 24, 2020 (the "Illinois Subclass").

The Nationwide Class and the Illinois Subclass are referred to herein collectively as the "Class



' Plaintiff requests that the Court delay its ruling on this motion until the parties have had an
opportunity to complete the discovery process and fully brief this issue. Plaintiff is filing this
motion in light of the Illinois Supreme Court's opinion in Ballard RN Ctr., Inc. v. Kohll's
Pharm. & Homecare, Inc., 2015 IL 118644 (Ill. 2015). In Ballard RN Ctr., the Illinois Supreme
Court found that a motion for class certification which "identified [the] defendant, the applicable
date or dates, and the general outline of plaintiff's class action allegations" was sufficient to
overcome mootness efforts by Defendant to defeat the case in question. Id. at * 19.
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V




     or "Classes." Plaintiff hereby reserves the right to amend the definition of the Nationwide Class

    and/or Illinois Subclass if discovery or further investigation reveals that the Classes should be

    expanded or otherwise modified.

            Certification of Plaintiff s claims for class-wide treatment is appropriate because Plaintiff

    can prove the elements of his claims on a class-wide basis using the same evidence as would be

    used to prove those elements in individual actions alleging the same claims.

            In support of his motion,Z Plaintiff states as follows:

            1.     Introduction. This is a class action lawsuit through which Plaintiff, individually

    and on behalf of the Classes described herein, seeks damages from Defendant for Defendant's

    alleged violations of common law and the Illinois Personal Information Protection Act in

    conjunction with a breach of Defendant's computer systems.

            This case satisfies all of the elements of 735 ILCS 5/2-801, et seq. Illinois state law

    requires numerosity, commonality, adequacy, and appropriateness of representation. As

    discussed below, each of these requirements is satisfied:

           2.      Numerosity — 735 ILCS 5/2-801(1). The numerosity requirement is satisfied

    where "joinder of all members is impracticable." "Although there is no magic number of class

    members for numerosity purposes, case law indicates that when a class numbers at least 40,

    joinder will be considered impracticable." HeYnandez v. Gatto Indus. Platers, 2009 U.S. Dist.




    Z Upon presentment of this Motion for Class Certification to the Court, Plaintiff will request a

    briefing schedule that will include, among other things, a deadline by which to file his opening
    memorandum of law in support thereof after sufficient discovery has been allowed. In Ballard
    RN Ctr., the Illinois Supreme Court stated that "when additional discovery or further
    development of the factual basis is necessary ... those matters will be left to the discretion of the
    trial court." Id. at *24.



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        LEXIS 36023 at *6 (N.D. Ill. Apr. 28, 2009).3        Here, as alleged in the Complaint, the exact

        number of Nationwide Class members is unknown to Plaintiff, but believed to be in the

        thousands. The exact number of Illinois Subclass members is also unknown to Plaintiff, but is

        believed to be more than 40.

               3.      Commonality — 735 ILCS 5/2-801(2). The commonality requirement is satisfied

        where "common questions [of law or fact] predominate over any questions affecting only

        individual members." "To satisfy this predominance requirement, a plaintiff must necessarily

        show that successful adjudication of the class representative's individual claim will establish a

        right of recovery in other class members. A favorable judgment for the class should decisively

        resolve the whole controversy, and all that should remain is for other class members to file proof

        of their claim." Mashal v. City of Chicago, 2012 IL 112341 at P33 (Ill. 2012) (Internal quotation

        marks and citations omitted).

               As alleged in the Complaint, the Defendant engaged in a common course of conduct that

        was nearly identical for every putative member of the Class, namely employees and former

        employees whose PII Defendant failed to protect from disclosure to third parties.

               In this case, the common questions of law or fact include, among others:

               1)      Whether and to what extent Defendant had a duty to protect the PII of

                       Plaintiff and Class Members;

               2)      Whether Defendant had a duty not to disclose the PII of Plaintiff and Class

                       Members to unauthorized third parties;

        3 "Section 2-801 of the Code, which is patterned after Rule 23 of the Federal Rules of Civil
        Procedure, sets forth the prerequisites needed to maintain a Class action. Given the relationship
        between these two provisions, federal decisions interpreting Rule 23 are persuasive authority
        with regard to questions of class certification in Illinois." Uesco Indus. v. Poolman of Wis., Inc.,
        2013 IL App (lst) 112566 at *P45 (I11. App. Ct. lst Dist. 2013) (internal quotation marks and
        citations omitted).



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           3)      Whether Defendant failed to adequately safeguard the PII of Plaintiff and

                   Class Members;

           4)      Whether and when Defendant actually learned of the Data Breach;

            5)     Whether Defendant adequately, promptly, and accurately informed

                   Plaintiff and Class Members that their PII had been compromised;

           6)      Whether Defendant violated the law by failing to promptly notify Plaintiff

                   and Class Members that their PII had been compromised;

           7)      Whether Defendant failed to implement and maintain reasonable security

                   procedures and practices appropriate to the nature and scope of the

                   information compromised in the Data Breach;

           8)      Whether Defendant adequately addressed and fixed the vulnerabilities

                   which permitted the Data Breach to occur;

           9)      Whether Plaintiff and Class Members are entitled to actual, damages,

                   statutory damages, and/or punitive damages as a result of Defendant's

                   wrongful conduct; and

           10)     Whether Plaintiff and Class Members are entitled to restitution as a result

                   of Defendant's wrongful conduct.

           Based on the nature of Defendant's conduct which Defendant uniformly applied to the

    Plaintiff and all meinbers of the alleged Classes, commonality is easily established here. "It is

    proper to allow a class action where a defendant is alleged to have acted wrongfully in the same

    basic manner towards an entire class." P.J. 's Concrete Pumping Serv. v. Nextel W. Corp., 345

    Ill. App. 3d 992, 1003 (I11. App. Ct. 2d Dist. 2004) (citation omitted).




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             4.     Adequacy — 735 ILCS 5/2-801(3). The adequacy requirement is satisfied where

     the "representative parties will fairly and adequately protect the interest of the class."

             The purpose of the adequate representation requirement is to ensure that all class
             members will receive proper, efficient, and appropriate protection of their
             interests in the presentation of the claim. The test to determine the adequacy of
             representation is whether the interests of those who are parties are the same as
             those who are not joined.

     P.J.'s Concrete Pumping Serv., 345 Ill. App. 3d at 1004 (citations omitted). Here, Plaintiff has

     no interests antagonistic to the interests of absent class members, and Plaintiff has retained

     counsel that is qualified, experienced, and generally able to conduct the proposed litigation.

             5.     Appropriateness — 735 ILCS 5/2-801(4). The appropriateness requirement is

     satisfied where the "class action is an appropriate method for the fair and efficient adjudication

     of the controversy." Further,

            In deciding whether the fourth requirement for class certification is met, a court
            considers whether a class action can best secure economies of time, effort, and
            expense or accomplish the other ends of equity and justice that class actions seek
            to obtain. Where the first three requirements for class certification have been
            satisfied, the fourth requirement may be considered fulfilled. Also, class actions
            are often the last barricade of consumer protection. Consumer class actions
            provide restitution to the injured and deterrence to the wrongdoer, thus attaining
            the ends of equity and justice.

     Walczak v. Onyx Acceptance Corp., 365 Ill. App. 3d 664, 679 (Ill. App. Ct. 2d Dist. 2006)

     (citations omitted).

            Here, where there are thousands of potential class members, each seeking small

     recoveries pursuant to claims that cannot be efficiently litigated separately, a class action is

     clearly the appropriate vehicle to litigate this action in order to secure economies of time, effort

     and expense for both the Court and the parties.

            WHEREFOI2E, Plaintiff respectfully requests that this Court, after allowing the parties

     an opportunity to complete the discovery process and fully brief the issues raised by this motion,



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    enter an Order: (1) certifying this case as a class action pursuant to 735 ILCS 5/2-801, et seq.,

~   (2) appointing Plaintiff as representative of the Class; and (3) appointing Plaintiff's attorneys as
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~   Class Counsel.
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5   Dated: January 7, 2021                      Respectfully submitted,

                                                /s/ Carl V. Malmstrom
                                                WOLF HALDENSTEIN ADLER
                                                FREEMAN & HERZ LLC
                                                Attorney No. 38819
                                                Carl V. Malmstrom
                                                111 W. Jackson Blvd., Suite 1700
                                                Chicago, IL 60604
                                                Tel: (312) 984-0000
                                                Fax: (212) 686-0114
                                                malmstrom@whafh.com

                                                M. ANDERSON BERRY (Pro Hac Vice
                                                Forthcoming)
                                                LESLIE GUILLON
                                                ARDC No. 6279810
                                                CLAYEO C. ARNOLD,
                                                A PROFESSIONAL LAW CORP.
                                                aberry@justice4you.com
                                                lguillon@justice4you.com
                                                865 Howe Avenue
                                                Sacramento, CA 95825
                                                Telephone: (916) 777-7777
                                                Facsimile: (916) 924-1829

                                                Counsel for Plaintiff and the Putative Class
